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                                                       Evidence Packet P.0560
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                                 #:28837
                              Dr. Stephen Elliott
                               December 16, 2019                              7

 1                          PROCEEDINGS

 2                 THE VIDEOGRAPHER:      We're now on record.

 3 The date is December 16th, 2019.       The time is 9:12 a.m.

 4 This is the video deposition of Dr. Stephen Elliott in

 5 the matter of T.P., et al., versus Walt Disney Parks and

 6 Reporters [sic] U.S., Incorporated.       This deposition is

 7 being held at McDermott Will & Emery in Dallas, Texas.

 8                 Counsel, please state your appearances

 9 for the record.

10                 MR. LAZZARA:    Domenick Lazzara on behalf

11 of the plaintiff in this case, and my firm is

12 Dom Law PA.

13                 MR. WHITE:     Jeremy White on behalf of

14 defendant, Walt Disney Parks and Resorts U.S.,

15 Incorporated.

16                 THE VIDEOGRAPHER:      Will the court

17 reporter please swear in the witness.

18                 [Witness sworn.]

19                    DR. STEPHEN ELLIOTT,

20 having first been duly affirmed by me to tell the truth,

21 was examined and testified as follows:

22                          EXAMINATION

23      Q     (BY MR. WHITE)    Good morning.

24      A     Good morning.

25      Q     Can you please state your full name for the


                               U.S. LEGAL SUPPORT
                                 (877) 479-2484                                   YVer1f




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                                                        Evidence Packet P.0569
